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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,
                  Plaintiffs,
                                         Civil No. 1:18-cv-950 (LO / JFA)
               v.

   COX COMMUNICATIONS, INC, et al.,

                    Defendants.


         COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
             REMITTITUR OR, IN THE ALTERNATIVE, A NEW TRIAL
               UNDER FEDERAL RULE OF CIVIL PROCEDURE 59(A)
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          Defendants Cox Communications, Inc. and CoxCom, LLC (“Cox”) respectfully move for

  remittitur or, in the alternative, a new trial, pursuant to Fed. R. Civ. P. 59(a).1

                                              STANDARD

          Federal Rule of Civil Procedure 59(a) permits a district court to award a new trial for “any

  reason for which a new trial has heretofore being granted in an action at law in federal court.” Fed.

  R. Civ. P. 59(a). The power to grant a new trial includes within it the power to order remittitur of

  an excessive verdict and, if the plaintiff rejects the remittitur, award a new trial. Cline v. Wal-Mart

  Stores, Inc., 144 F.3d 294, 305 (4th Cir. 1998).

          A district court may order remittitur or a new trial if it determines that the verdict was

  against the “clear weight” of the evidence or “will result in a miscarriage of justice.” See U.S.

  Equal Employment Opportunity Comm’n v. Consol Energy, Inc., 860 F.3d 131, 145 (4th Cir.

  2018). In that circumstance, the court “must set aside the verdict … and grant a new trial.” King v.

  McMillan, 594 F.3d 301, 314-315 (4th Cir. 2010) (emphasis added).

                                              ARGUMENT

  I.      The $1 billion award is a miscarriage of justice; it is shockingly excessive and
          unlawfully punitive, and should be remitted or result in a new trial.

          The award of $1 billion appears to be the largest award of statutory copyright damages in

  history. This is not by a matter of degree. It is the largest such award by a factor of eight. It is the

  largest such award for secondary copyright infringement by a factor of 40. It is the largest jury


  1
    For the reasons set forth in Cox’s Renewed Motion for Judgment as a Matter of Law Or, in the
  Alternative, A New Trial Under Federal Rules of Civil Procedure 50(b) and 59(a), filed this date,
  as well as for the reasons set forth in Cox’s memoranda in support of and in opposition to summary
  judgment, Cox respectfully submits that the evidence in this case did not support the jury’s findings
  of direct, contributory, or vicarious liability as to any of the works in suit, and that at least 8,000
  of the works in suit should not have been considered by the jury. Notwithstanding these
  fundamental flaws in the verdict, Cox submits this motion seeking remittitur of the statutory
  damages award or, in the alternative, a new trial because, even if all other defects in the verdict are
  ignored, the jury’s award was shockingly excessive and unsupported by the evidence and the law.
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  verdict in the history of this District by a factor of more than 30. It is by any measure a shocking

  verdict, wholly divorced from any possible injury to Plaintiffs, any benefit to Cox, or any

  conceivable deterrent purpose. Principles of remittitur and due process require that this baseless

  award be substantially reduced, or that Cox be granted a new trial on damages.

         A.      This Court has inherent power to remit a grossly excessive statutory
                 damages award.

         The district courts’ power to remit excessive damages awards is an established aspect of

  U.S. common law. More than 80 years ago, the Supreme Court explained that remittitur “has been

  accepted as the law for more than a hundred years and uniformly applied in the federal courts

  during that time.” Dimick v. Scheidt, 293 U.S. 474, 484-485 (1935). This well-established principle

  applies equally to statutory damages. See, e.g., Capitol Records v. Thomas-Rasset, 680 F. Supp.

  2d 1045, 1051 (D. Minn. 2010) (judgment vacated on other grounds, 692 F.3d 899 (8th Cir. 2012))

  (noting that “there is no authority for Plaintiffs’ assertion that the Court does not have the power

  to remit an award of statutory damages” and remitting damages of $80,000 per work to $2,250);

  Sony BMG Music Entertainment v. Tenenbaum, 660 F.3d 487, 508 (1st Cir. 2011); Maryland v.

  Universal Elections Inc., 862 F. Supp. 2d 457, 466 (D. Md. 2012). Indeed, the First Circuit has

  held that the district courts are required to consider common-law remittitur before addressing any

  due process-based challenge to an excessive award. See Tenenbaum, 660 F.3d at 508.

         B.      Remittitur is required here; the $1 billion verdict is completely divorced
                 from the trial evidence and constitutes a miscarriage of justice.

         The $1 billion verdict in this case is a shocking miscarriage of justice. It vastly exceeds any

  previous statutory damages award under the Copyright Act. It is wholly disproportionate to the

  evidence of harm to Plaintiffs, benefit to Cox, or any demonstrated need for deterrence, and is

  unsupportable under the Court’s jury instruction on damages. It should be vacated for retrial, or

  remitted down the largest dollar amount consistent with the trial evidence.

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                 1.     The award is grossly excessive in light of statutory damages awards in
                        other copyright cases.

         The gross excessiveness of the $1 billion award is vividly illustrated by comparison not

  just to analogous statutory damages awards but to every statutory damages award ever rendered.

  Until now, the largest award of copyright statutory damages to survive appeal was $136 million—

  roughly one-eighth of the verdict here. See Atlantic Recording v. Media Group Inc., 00-CV-6122

  (Aug. 23, 2002), 2002 Jury Verdicts LEXIS 52291. The second-largest award was $62.4 million.

  See Disney Enters., Inc. v. Vidangel, Inc., 16-cv-04109-AB-PLA, 2019 WL 4565168, at *1 (Sept.

  5, 2019). The third-largest was $53.4 million. See UMG Recordings, Inc. v. MP3.Com, Inc., 2000

  U.S. Dist. LEXIS 17907 (S.D.N.Y. Nov. 14, 2000). Even that amount drew sharp criticism from

  the leading copyright scholar, who wrote: “[a]bsent any nexus between damage to plaintiff and

  benefit to defendant at any magnitude even roughly comparable to that awarded, the result is to

  introduce randomness or worse into the litigation calculus …. By any reasonable metric, the award

  in UMG v. MP3.Com seems … disproportionate.” 4 Nimmer on Copyright § 14.04 (2019); see

  also 6 Patry on Copyright § 22:208 (describing award as “so monstrous as to shock anyone’s

  conscience”). That “monstrous” award was approximately one-twentieth of the jury verdict here.

         In fact, according to a recent study of copyright damages, the verdict in this case exceeds

  the aggregate dollar amount of every statutory damages award rendered in the years 2009-2016

  by more than four hundred million dollars. See Lex Machina, Copyright Damages Report 2016,

  at Fig. 27 (Jan. 2017) (attached as Ex. A) (calculating that from January 1, 2009 through September

  30, 2016, there were 1,338 awards of statutory damages with a total value of $568,996,344).

         Importantly, the three largest statutory damages verdicts described above were rendered

  against direct infringers—people who actually misappropriated the copyrighted material for their

  own use and profit. In most cases, those infringers were conducting businesses based upon


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  copyright infringement; they were adjudicated pirates. For example, the defendant in Vidangel was

  found to use software to bypass anti-piracy measures to copy hundreds of films from DVDs and

  stream the copied films to customers for a fee. See Disney Enterprises, Inc. v. VidAngel, Inc., 371

  F. Supp. 3d 708, 712 (C.D. Cal. 2019). The defendant in Atlantic Media was a CD manufacturing

  plant that willfully made and sold copies of 1,514 copyrighted songs. See Atlantic Recording v.

  Media Group Inc., Case No. 00-CV-6122 (C.D. Cal.), ECF No. 57. And the defendant in UMG

  Recordings, Inc. v. MP3.Com, Inc. “purchased tens of thousands of popular CDs in which plaintiffs

  held the copyrights, and, without authorization, copied their recordings onto its computer servers

  so as to be able to replay the recordings for its subscribers.” See 92 F. Supp. 2d 349, 350 (S.D.N.Y.

  2000).

           Cox did none of these things. It is not accused of direct infringement. It is not alleged to

  have exploited Plaintiffs’ copyrighted works. It is not in the business of distributing content, and

  its product offerings—internet service, television service, and voice calling services—have a

  nearly infinite array of non-infringing uses. Cox’s financial stake in its subscribers’ use of

  Plaintiffs’ works is indirect, and (as discussed below) minuscule by any relevant metric.

           Awards rendered against secondary infringers like Cox are systematically smaller than

  awards against direct infringers. The largest statutory damages jury award against a secondary

  infringer appears to be $31.68 million, rendered against the owners of a group of three television

  stations that aired copyrighted programs without paying licensing fees. Columbia Pictures Indus.

  v. Krypton Broad. of Birmingham, Inc., 259 F.3d 1186, 1191 (9th Cir. 2001). In fact, Columbia

  Pictures was essentially a direct-infringement case: the secondary infringer owned and controlled

  the direct infringers, and so benefited directly from their infringement. The largest statutory

  damages against a secondary infringer situated like Cox is $25 million in BMG Rights Mgmt. (US)



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   LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634 (E.D. Va. 2015) (“BMG”).2 The $1 billion award

   thus appears to be the largest ever against an infringer situated like Cox—by a factor of 40.

          Nor does the analysis change if the jury’s award is considered on a per work basis. For one

   thing, the courts to have considered the question have observed in analogous circumstances that a

   per work analysis is not necessarily apposite for assessing the proportionality of a verdict where

   high volumes of infringement are at issue, ballooning five- or six-figure per work damages awards

   into aggregate awards in the hundreds of millions of dollars, or, in this case, $1 billion. Cf. Capitol

   Records, 692 F.3d at 909-910 (discussing due process limitations on damages); Parker v. Time

   Warner Entertainment Co., 331 F.3d 13, 22 (2d Cir. 2003) (same).

          Moreover, even considered on a per work basis, this award was excessive. Awards of

   damages approaching $100,000 per work are all but unheard-of in cases involving more than a

   handful of works—until this one.3 In cases involving the infringement of digital music files, no

   award has exceeded $25,000 per work. The most closely analogous precedent is BMG, in which

   the jury awarded $17,895 per work, or less than one-fifth of the present per-work award.

          Finally, if allowed to stand, the verdict will also be the largest award in the history of this

   District by a factor of almost 30. Excluding awards that were later remitted, reversed, or vacated,



   2
     The $46.14 million judgment in TVB Holdings (USA), Inc. v. HTV Int’l Ltd., No. 16-CV-1489,
   2018 U.S. Dist. LEXIS 41323, at *20-21 (E.D.N.Y. Mar. 9, 2018) ($30,000 per work) included
   liability for direct and secondary infringement of more than 1,500 television programs.
   3
     See, e.g., John Wiley & Sons, Inc. v. Book Dog Books, LLC, 327 F. Supp. 3d 606, 635 (S.D.N.Y.
   2018) ($100,000 per work for 142 works); Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658
   F.3d 936, 940 (9th Cir. 2011) ($150,000 per work for two works); Graduate Mgmt. Admission
   Council v. Raju, 267 F. Supp. 2d 505, 511-12 (E.D. Va. 2003), report and recommendation
   adopted, Graduate Mgmt. Admission Council v. Raju, 267 F. Supp. 2d 505, 507 (E.D. Va. 2003)
   ($150,000 per work for 22 works); Nat’l Football League v. PrimeTime 24 Joint Venture, 131 F.
   Supp. 2d 458, 479-80 (S.D.N.Y. 2001) ($100,000 per work for 18 works); Ez-XBRL Sols, Inc. v.
   Chapke, No. 1:17-cv-700, 2018 U.S. Dist. LEXIS 224803, at *26-27 (E.D. Va. Sep. 25, 2018)
   (Magistrate’s Report & Recommendation), adopted in full by 2018 U.S. Dist. LEXIS 224325 (E.D.
   Va. Oct. 22, 2018) (Brinkema, D.J.) ($150,000 per work for five works).
                                                     5
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   the largest jury verdict ever in this District appears to be $34.7 million. See LifeNet Health v.

   LifeCell Corp., 93 F. Supp. 3d 477 (E.D. Va. 2015), aff’d, 837 F.3d 1316 (Fed. Cir. 2016). If

   remitted verdicts are included, the largest is $37.7 million. See Benedict v. Hankook Tire Co., 2018

   WL 3352952, at *28 (E.D. Va. July 9, 2018) (remitting award from $37.8 million to $37.7 million).

   If not vacated or remitted, the $1 billion verdict will be the largest damages award ever in this

   District by approximately 2,600%. By any measure, the $1 billion award is extraordinary. It is also

   out of all proportion to statutory damages awards in other cases.

                  2.      The $1 billion award is grossly excessive in light of the evidence and
                          the damages factors the jury was instructed to consider.

          The Copyright Act’s statutory damages provision is not a license to award massive

   damages unmoored in the trial evidence or the policies underlying the Copyright Act, and absent

   “any nexus between damage to plaintiff and benefit to defendant at any magnitude even roughly

   comparable to that awarded, the result is to introduce randomness or worse into the litigation

   calculus.” See Nimmer, supra. The Court instructed the jury on the factors to be considered in

   rendering their award, which are designed to ensure that any award is sufficiently rooted in the

   evidence and consistent with the purposes of statutory damages—namely, “restitution of profit,”

   “reparation for injury,” and “discourag[ing] wrongful conduct.” F.W. Woolworth Co. v.

   Contemporary Arts, 344 U.S. 228, 233 (1952).

          Specifically, the Court’s damages instruction listed a series of factors that broadly

   correspond to those purposes, including “the profits Cox earned” and “expenses Cox saved”

   “because of the infringement”; the revenues that Plaintiffs lost because of the infringement and the

   difficulty of proving Plaintiffs’ actual damages; the “circumstances of the infringement”;

   “deterrence of future infringement”; and “in the case of willfulness, the need to punish Cox.” In

   addition, the instruction stated that in considering deterrence, “you may consider Cox’s total profits


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   and the effect the award may have on Cox in the marketplace.”4 ECF No. 671, Instr. 28; see also

   Tr. 2927:8-2928:1.5

           Properly applied, these factors could have sufficed to tie the damages award to the trial

   evidence and ensure that it served the purposes of disgorgement of illicit profits, compensating for

   injury, and “discourag[ing] wrongful conduct” going forward. As applied by the jury, however,

   they resulted in an award that bore no relationship to these considerations, and was so grossly

   excessive as to constitute a miscarriage of justice. Because the extraordinary $1 billion verdict

   cannot be supported by the factors the jury was instructed to consider or the evidence informing

   those factors, Cox is entitled to a substantial remittitur or a new trial.

                           a)      “The profits Cox earned because of the infringement” do not
                                   support the award.

           Plaintiffs urged the jury to award massive damages based, in large part, on assertions of

   Cox’s massive profits. See, e.g., Tr. 2938:5-6 (Cox “put its profits above the law”); Tr. 2938:19

   (Cox’s “huge profit line”); Tr. 2941:19 (“[W]e saw what motivated Cox. It was profits.”); Tr.

   2974:5-6 (“[C]onsider Cox’s profits from its high-speed internet business …. It was $8.3 billion”

   [sic]); Tr. 2974:11 (“Cox’s profits were so excessive”); Tr. 2974:23 (“Cox’s profits were

   massive”). But Plaintiffs were careful never to introduce evidence—let alone argue to the jury

   regarding—what the instructions required: Cox’s “profits because of the infringement”; although

   they acknowledged before trial that it was only the profits Cox earned “because of the

   infringement” that the jury could consider on the damages issue.6 And the evidence that Plaintiffs



   4
     As discussed in Section III, Cox maintains that the instructions allowing consideration of Cox’s
   total profits and “need to punish” should not have been included in the charge. For purposes of
   this section, we assume that the charge as given was appropriate.
   5
     Relevant excerpts from the trial transcript are attached hereto as Exhibit B.
   6
     Both parties’ proposed jury instructions on statutory damages included “profits because of the
   infringement” as a factor. See ECF No. 602-2, Instr. 30; ECF No. 645-1, Instr. 30.
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   did introduce for other purposes—specifically, to show Cox’s “economic and financial incentive”

   to “tolerate having infringing subscribers on their network,” Tr. 1775:1-5 (Lehr direct)—showed

   that Cox’s profits from the infringement were a tiny fraction of the billion-dollar award.

          Plaintiffs introduced two kinds of evidence bearing on “the profits Cox earned because of

   the infringement.” First, Plaintiffs presented evidence of Cox’s revenues generated, not by the

   infringement itself, but by the Cox subscribers who repeatedly committed direct infringement. See

   Am. Compl., (ECF No. 136) ¶ 10; ECF No. 590 at 3 (pretrial ruling limiting Plaintiffs to

   “measur[ing] harms commensurate with the set of subscribers identified in three or more

   notices”).7 Lehr testified that 31,514 subscribers received three or more infringement notices, and

   that those subscribers generated $208 million in revenues from February 2013-2016. Lehr Trial

   Demonstrative 14; Tr. 1776:18-1777:1.8 That $208 million included revenues from broadband,

   television, and telephone services–not profits from those revenues. Tr. 1767:13-1768:14.

          The Court’s order on the in limine motions held narrowly that “valuations considering

   bundled services are relevant and admissible to help the jury understand the context of [the]

   business decisions at issue.” ECF No. 590 at 3. The Court did not admit this evidence for proving

   profits attributable to the infringement. Id. Lehr provided the information necessary to

   disaggregate from the service bundle revenues only the revenues from the high-speed internet

   service that was the basis for Plaintiffs’ allegations of secondary infringement. According to Lehr,




   7
     Notably, Plaintiffs adduced evidence of the $307 million of revenue associated with all infringers,
   including those who received only one or two notices and whose infringement is not alleged to
   have been a basis for Cox’s liability. Plaintiffs were allowed to adduce this evidence solely (though
   we believe erroneously) for the purpose of proving vicarious liability, but the Court specifically
   ruled that it could not be considered for damages purposes. See ECF No. 590 at 3.
   8
     Referenced trial demonstratives are attached hereto as Exhibit C.


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   high-speed internet services generated approximately 34% of Cox’s total revenues.9 Id. Applying

   that 34% to the $208 million in total revenues yields high-speed internet revenues from repeat

   infringers of $71 million. Again, that $71 million figure represents gross revenues, not profits.

   Lehr testified that Cox’s profit margin on internet services was 59.8%. Tr. 1768:25-1769:1. Thus,

   applying Lehr’s analysis, Cox’s total profits from high-speed internet services to repeat-infringing

   subscribers was $42.6 million for the four-year period from February 2013 through 2016.

   Reducing that figure by half to account for profits earned outside the Claims Period, results in

   profits “earned from the infringement” of $21.3 million.

           Moreover, that $21.3 million figure for profits from internet service necessarily and

   materially overstates the actual benefit to Cox “because of the infringement,” as it attributes the

   entire value of Cox’s profits from infringing subscribers to their ability to use the service to

   infringe. There is no evidence to support that highly implausible assumption. Instead, the evidence

   suggests that Cox subscribers, like all ISP subscribers, use their high-speed internet access for an

   infinite number of non-infringing activities: email, shopping, following friends on Facebook, and

   streaming movies from Netflix, videos from YouTube, and music from Spotify. See, e.g., Tr.

   1358:9-16 (Zabek); Tr. 1892:7-18 (Negretti); Tr. 2423:7-15, 2434:4-11 (Bakewell). Cox’s profits

   from its high-speed internet service reflect the value of all those activities, not just the infringement

   of Plaintiffs’ works, and any calculation of Cox’s profit from the infringement should have

   accounted for that fact; though the jury’s obviously did not.

           The second kind of evidence from Plaintiffs that offers a method of calculating Cox’s

   profits cures many of the deficiencies of their revenue evidence because it recognizes that the



   9
     Lehr testified that the revenues attributable to television services, high-speed internet service,
   and voice services were $4.2 billion, $2.8 billion, and $1.1 billion. The sum of those figures is $8.1
   billion, of which $2.8 billion is 34.5%. Tr. 1767:22-1768:5.
                                                      9
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   relevant question for determining the benefit to Cox of the infringing subscribers was not how

   much profit Cox received from them, but how the profit derived from repeat-infringing subscribers

   compared incrementally to the profit Cox derived from non-repeat-infringing subscribers, who

   reaped all the benefits of Cox’s internet service except the opportunity to repeatedly infringe.

          Asked to calculate “the relative value” of repeat infringing subscribers versus other

   subscribers, Lehr concluded that a “statistically significant increase” could be detected for the

   monthly “data billed and revenues paid” by subscribers who were the subject of 20 or more tickets,

   as compared to those who were the subject of only one or two. Tr. 1792:11-1793:5. The size of

   that “statistically significant increase” was 8%, or $6.50 per month. Tr. 1793:6-25. For the 22

   month claims period, $6.50 comes to $143.00 per subscriber. Lehr did not provide the number of

   subscribers who were the subject of 20 or more tickets, but the evidence, viewed most favorably

   to Plaintiffs, was that only 4,400 Cox subscribers were the subject of 14 or more tickets. McCabe

   Trial Demonstrative 7 (admitted into evidence). At $143.00 each, the “relative value” to Cox of

   the “statistically significant” increase in data charges paid by “high volume infringers” (assuming

   that this group includes not just the recipients of 20 or more notices, but also the recipients of 14

   or more) was $629,000. Using Lehr’s figures, the profits on those charges would be $376,262.

          The key point is that, whether the appropriate figure for Cox’s profits from the infringement

   is some fraction of $21.3 million, $376,262, or something in between, that figure bears no

   relationship to the “massive,” “excessive,” multi-billion-dollar profits on which Plaintiffs urged

   the jury to base its award. There is not even a remote connection between the profits earned by

   Cox from the infringement and the $1 billion damages award.




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                         b)      “The expenses Cox saved because of the infringement” do not
                                 support the award.

          There was no evidence sufficient to show that Cox saved any expenses because of the

   infringement. Lehr testified broadly that “Cox saved costs by not addressing copyright

   infringement,” Tr. 1770:13-23, but he made no attempt to quantify that savings. See Tr. 1795:19-

   1796:4; see also id. at 1800:11-1803:16. Notably, Lehr did not testify that it was impossible to

   quantify the alleged savings; only that he did not do it. Id. Broad, unsupported assertions of

   “savings” that Plaintiffs chose not to quantify provide no support for the massive jury award.

          The only potentially relevant evidence of actual savings related to the cost of terminating

   a subscriber, which Cox arguably “saved” indirectly by failing to terminate more infringing

   accounts. That cost was “not more than 20 or 30 dollars” per customer. Tr. 2722:21-25 (Mencher

   direct). Viewing the evidence most favorably to Plaintiffs, the jury could have found that Cox

   “should” have terminated the 31,514 customers who received three or more notices. Assuming

   $30 per termination, the expenses Cox saved “because of the infringement” by retaining those

   accounts were, at an absolute maximum, $945,420.

                         c)      “The revenues that Plaintiffs lost because of the infringement”
                                 do not support the award.

          Plaintiffs refused to calculate the revenues lost from the alleged infringements, arguing that

   lost revenues were impossible to determine. Their witnesses testified only about the global harm

   to their industry from internet piracy generally—testimony that naturally had the effect of vastly

   expanding the frame of reference for a potential damage award.10 Cox moved in limine to exclude


   10
     See, e.g., Tr. 1196:12-1198:2 and PX-486 (Flott direct) (testimony and demonstrative showing
   decline in industry financial results from 2000 to 2014 from around $14 billion to $7 billion) ;Tr.
   1740:22-1741:3 (Lehr direct) (stating that the revenues and profits of “rights holders” are
   “significantly lower” “in a world with piracy”); Tr. 1742:19-1743:18 (Lehr direct) (stating in
   general terms that piracy causes “a big disruption effect on their business models”); Tr. 119:17-


                                                   11
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   this evidence, and filed a Daubert motion to preclude Plaintiffs’ expert from discussing it, but was

   rebuffed. See ECF No. 590 at 2-3; ECF No. 589 at 4. In closing, Plaintiffs urged the jury to rely

   on this generic evidence of loss—wholly unconnected to the infringements at issue—in

   considering the “Plaintiffs’ loss of revenue” damages factor:

                  You heard from several representatives from the plaintiffs … who
                  told you how peer-to-peer had harmed their business and that
                  between 2004 and 2014 … the record industry’s revenues were
                  going down and down and down. This was not a slow-down; this
                  was a slaughter. Lost jobs, lost labels, lost revenue.

   Tr. 2972:10-17. But evidence of that industry-wide “slaughter” cannot support the jury’s award:

   general assertions of unspecified losses caused by a worldwide phenomenon do not provide a

   valid basis for holding an individual defendant liable for those losses.

          The only concrete evidence on this topic came from Cox’s expert Christian Tregillis, who

   testified that Plaintiffs’ lost revenue from “displaced downloads” of the works at issue was

   $692,000. Tr. 2777:15-23. The jury was not required to agree with Mr. Tregillis’s testimony, but

   in the absence of any contrary evidence relating to the harm allegedly caused by Cox’s subscribers

   during the Claim Period (as opposed to the industry generally by all P2P infringers since Napster

   in 1999), it was also not permitted to use this damages factor to support a massive damages award.

                          d)      “The difficulty of proving Plaintiffs’ actual damages” does not
                                  support the award.

          Plaintiffs leveraged the purported impossibility of calculating their losses into an argument

   for infinite damages. Plaintiffs repeatedly suggested that every documented infringement was


   23 (Kooker direct) (stating that if copyrights are not protected, “ultimately the business doesn’t
   exist”); Tr. 159:6-160:22 (Kokakis direct) (stating that piracy “was a problem for the entire music
   industry”); Tr. 228:3-17 (McMullen direct) (stating that piracy has “had a very severe impact,”
   including by impacting “the finances of our business”); Tr. 1195:9-17 (Flott direct) (stating that
   the impact from piracy has “been enormous and significant”) (referenced trial exhibits are attached
   hereto as Exhibit D).


                                                    12
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   somehow evidence of many more undocumented infringements, for which Plaintiffs deserved

   compensation from Cox.11 For example, Lehr testified that the infringement data in the case does

   not show “how many actual copies were distributed by those subscribers ….” Tr. 1752:18-24. Lehr

   also stated that “a file that is distributed illegally, once it gets out there virally, how many illegal

   copies that copy can spawn … there is no way to predictably estimate that.” Tr. 1753:4-7.12

           These issues, however, do not justify the jury’s award. The difficulty of quantifying

   damages is a justification for the existence of statutory damages. See F.W. Woolworth, 344 U.S.

   at 232 (noting that the purpose of statutory damages is “to give the owner of a copyright some

   recompense for injury done him, in cases where the rules of law render difficult or impossible

   proof of damages”).13 It is not a justification for awarding damages for acts of infringement that

   the rights holder cannot prove. The difficulty of proving damages in the abstract provides no

   guidance for where an award should fall within the statutory range—and certainly no justification

   for the largest statutory damages award in the history of copyright law by an order of magnitude.

                           e)      “The circumstances of the infringement” do not support the
                                   award.

           The “circumstances of the infringement” factor weighs heavily against the jury’s

   unprecedented verdict. Cox did not engage in counterfeiting or piracy, or even direct infringement.




   11
      Cox moved in limine and under Daubert to exclude evidence of infringements that were not
   represented by the notice data, but the Court denied those motions in relevant part. See ECF No.
   306; ECF No. 482; ECF No. 590 at 2-3; ECF No. 589 at 4.
   12
      See also, e.g., Tr. 159:23-160:5, 160:16-22 (Kokakis direct).
   13
      Indeed, the statutory minimum in this case mandated an award of at least $7.5 million; that is,
   more than 10 times the only actual calculation of Plaintiffs’ demonstrated loss. And the actual
   award was more than 1,000 times that number.
                                                     13
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   As noted above, courts have systematically treated secondary infringement as less culpable than

   direct infringement for profit.

          Here, there is no evidence that Cox induced its subscribers’ infringement, encouraged it,

   or did anything to exacerbate it. To the contrary, the evidence undisputedly showed that Cox

   invented, developed, and implemented a program aimed at reducing infringement—and even

   Plaintiffs’ evidence demonstrated that the program worked. Tr. 861:17-862:6 (McCabe cross);

   McCabe Trial Demonstrative 7 (showing reduction in notices over the course of graduated

   response); see also Tr. 1591:14-1592:3 (Carothers direct); Tr. 1962:1-1963:9 (Weber direct); PX-

   325 at 3. It is also undisputed that throughout the Claim Period, Cox continually engaged with

   Plaintiffs’ agents about Cox’s graduated response program, was transparent about its limitations,

   and where feasible, accommodated Plaintiffs’ requests. See, e.g., Tr. 310:16-19, 318:4-319:18

   (Marks direct); PX-327; Tr. 1049:17-1050:16 (Trickey direct); 1602:25-1603:9 (Carothers direct).

          Even if the jury concluded that Cox’s infringement-reduction efforts were inadequate

   because they did not include enough terminations or other measures, there is no dispute that Cox

   did not itself engage in any unlawful copying or distribution; that Cox made efforts to restrain the

   infringement of which it was made aware; or that Cox’s efforts were similar to—and in many ways

   more robust than—the anti-infringement efforts mounted by other major ISPs in the CAS system,

   which Plaintiffs expressly approved. Even the handful of cases sustaining low eight-figure awards

   for secondary infringement did not involve comparable evidence of affirmative efforts to curtail

   the infringement in dispute. For these reasons, the great weight of the evidence supports the




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   conclusion that “the circumstances of the infringement” do not support the jury’s award but that it

   would favor an award lower than the awards assessed against other secondary infringers.

                          f)     “Whether Cox acted willfully or intentionally” does not
                                 support the award.

          The jury’s willfulness finding moves the potential damages into the higher statutory range.

   It does not support any particular damages within the permitted range; nor does it mandate

   increased damages. The jury’s willfulness finding thus provides a basis for the jury’s extraordinary

   award only to the extent that the other factors do. The only case involving a jury determination of

   willful infringement under analogous facts is BMG, which resulted in a verdict that is one-fortieth

   of this one. And even in that instance, the evidence was that Cox refused to process the notices

   received by BMG, whereas, here, Cox did process the RIAA notices, and abated a substantial

   portion of the recurring infringement.

                          g)     “Deterrence of future infringement” does not support the
                                 award.”

          The need to “discourage wrongful conduct” is a core function of statutory damages, and

   may warrant damages that exceed the rights holder’s loss and the infringer’s gain. F.W.

   Woolworth, 344 U.S. at 233-234. But the deterrence function is not a blank check for awarding

   massive damages untethered to the evidence. As the Supreme Court has explained, a massive

   award “cannot be justified on the ground that it was necessary to deter future misconduct without

   considering whether less drastic remedies could be expected to achieve that goal.” BMW of North

   America v. Gore, 517 U.S. 559, 584-585 (1996). The quantum of damages justified by deterrence

   equals the amount necessary to deter the conduct—no less, but also no more.

          Here, Plaintiffs offered no evidence of the damages necessary to deter Cox’s infringement.

   Having argued for and won an instruction allowing the jury to consider the effect of Cox’s “total

   profits” on deterrence, they simply urged the jury to base their award on that enormous number:

                                                   15
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                  [W]hen you consider [deterrence], consider Cox’s profits from its
                  high-speed internet business between 2013 and ‘14. It was $8.3
                  billion. That is a big, big number…. In fact, even if you awarded
                  the maximum statutory damages under willfulness, it’s not clear
                  that even that would have a deterrent effect because Cox has so
                  much cash.

   Tr. 2974:4-7, 2974:23-2975:1. Counsel’s statement inflated the profits from Cox’s internet

   services business by more than 140%—according to Plaintiffs’ own expert, the correct number

   was $1.7 billion in 2014.14 Lehr Trial Demonstrative 11. But even the correct total-profits number

   tells us nothing about the damages necessary to deter the infringement. Well-established economic

   principles teach that a rational commercial enterprise will stop an activity when its costs

   substantially exceed its benefits. See, e.g., (“[I]f the expected costs of wrongdoing exceed the

   expected gains, wrongdoing will normally be deterred, whatever the corporation’s wealth.”).

   Absent evidence that Cox would irrationally continue the accused conduct despite a damage award

   that made the conduct a financial negative, the deterrence objective justifies no larger award—and

   there is no such evidence here.15 In addition, there is no evidence that there is any current threat

   of infringement that warrants deterrence.

          Given the evidence quantifying Plaintiffs’ injury and Cox’s benefit from the infringement,

   the need to deter cannot justify damages even remotely close to the magnitude of the jury’s award.

                          h)      “The need to punish Cox” does not support the award.

          The jury was encouraged to punish Cox, and punish Cox it did. But like deterrence,

   punishment is not an uncabined invitation to inflate damages. In addition to constitutional

   considerations (addressed below), principles of common law dictate that the punitive portion of


   14
      Lehr did not provide a profit number for 2013. Assuming that number was similar to the 2014
   number, Cox’s total profit from internet service during the Claims Period was $3.4 billion, or less
   than one-half the figure counsel urged the jury to use.
   15
      To the contrary, the evidence showed that Cox is a rational economic actor. See, e.g., Tr. 2721:5-
   2722:1 (Mencher direct).
                                                    16
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   the damages should have been constrained by “the reasonableness between the damages sustained

   and the amount of the award and measurement of punishment required, whether the award will

   amount to double recovery, the proportionality between the compensatory and punitive damages,

   and the ability of the defendant to pay.” Cretella v. Kuzminski, 640 F. Supp. 2d 741, 766 (E.D. Va.

   2009).

            Here, the only Cretella factor that even arguably support an elevated award is Cox’s ability

   to pay. All the others are neutral or weigh in favor of a vastly smaller award—one that is

   proportional to any injuries that Plaintiffs provably sustained, the modest benefits to Cox, and the

   indirect and relatively low-culpability nature of the infringement.

                   3.      A substantial remittitur is warranted here.

            Where a jury award is grossly excessive, the trial court “must” set aside the verdict and

   either remit the award or grant a new trial. King, 594 F.3d at 324. The proper amount of a remittitur

   is “the maximum amount sustainable by the proof.” Oracle Corp. v. SAP AG, 765 F.3d 1081, 1094

   (9th Cir. 2014). Here, the necessary “proof” relates to the factors the jury was instructed to

   consider: (1) Cox’s profits earned and (2) expenses saved “because of the infringement,” (3)

   Plaintiffs’ lost revenues “because of the infringement” and (4) the difficulty of proving them, (5)

   the circumstances of the infringement, (6) willfulness, (7) the need for deterrence, and (8) the

   “need to punish” Cox.

            As explained above, most of the factors support an award of no more than the statutory

   baseline for willful infringement—$7.5 million. The only evidence of Plaintiffs’ losses from the

   infringement at issue (as opposed to P2P infringement as a general phenomenon) shows a loss of

   less than $1 million. The difficulty of proving those lost revenues justifies the choice of statutory

   over actual damages (which provided a 10 times multiplier at the minimum $750 per work

   baseline), but does not justify any further enhancement within the statutory range. The fact of
                                                    17
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   willfulness allows, but is not an independent basis for, enhancement beyond the $750 per work

   statutory baseline for willfulness. The circumstances of the infringement, when compared to the

   defendant’s culpability in cases of willful infringement where elevated damages have been

   awarded—those involving true piracy—do not support a significant increase in damages.

          The only factors that could even theoretically support an increase over the statutory

   minimum are Cox’s gains from the infringement, deterrence, and punishment. But the evidence

   shows that Cox’s profits earned “because of the infringement” were not less than $376,262 (the

   marginal value of repeat-infringing subscribers over other subscribers) and not more than some

   fraction of $21.3 million (all profits from repeat-infringing subscribers attributable to all internet

   service during the Claims Period). Also, Cox arguably realized a gain from “cost savings”

   attributable to the infringement of, at a maximum, $950,000. Together, that yields a total gain to

   Cox of not less than $1.3 million or more than some fraction of $22.25 million.

          The deterrence factor should reflect the amount necessary to deter Cox from conduct that

   earned or saved Cox that amount over two years and which injured Plaintiffs in the amount of

   $692,000 over the same period, plus a multiplier to accommodate the discounted probability that

   additional conduct would be identified. The punishment factor must itself be tied somehow to the

   evidence of actual harm in order to survive due process review and should reflect the low

   culpability of Cox’s conduct compared to that of other willful infringers.

          The appropriate award should account for the maximum benefit to Cox (as calculated by

   Lehr) for providing broadband services to the accused infringers and any savings reaped “because

   of the infringement,” and Plaintiffs’ losses from “displaced downloads” of the 10,017 works at

   issue. It should include a multiplier to account for the deterrence and punishment factors, but that

   multiplier should have some rational basis in the trial evidence as represented in the other factors.



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   Finally, the award should be at least commensurate with the damages awarded in similar cases.

   An award rooted in these principles would amply serve the statutory purposes of “restitution of

   profit,” “reparation for injury,” and “discourag[ing] wrongful conduct.” See F.W. Woolworth Co.,

   344 U.S. at 233. Under no circumstances could such an award reach $1 billion, or anything close

   to it.

   II.      The jury award is so “wholly disproportioned to the offense” that it violates Cox’s
            right to due process of law.

            Like punitive damages, statutory damages are constrained by the constitutional

   requirement of due process. The governing standard was established by the Supreme Court in St.

   Louis, I.M. & S. Railway Co. v. Williams, 251 U.S. 63 (1919), in which the Court “declared that

   damages awarded pursuant to a statute violate due process only if they are ‘so severe and

   oppressive as to be wholly disproportioned to the offense and obviously unreasonable.’” Capitol

   Records, 692 F.3d at 907 (quoting Williams, 251 U.S. at 67).

            Williams requires a proportionality analysis. It considers the relationship between two

   variables: the magnitude of the award and the nature and egregiousness of the “offense.” See Golan

   v. FreeEats.com, 930 F.3d 950, 962-963 (8th Cir. 2019) (applying Williams by “compar[ing] …

   the conduct of” the defendant to the “shockingly large” statutory damage award). Performing that

   proportionality analysis here confirms that the $1 billion award violates Cox’s right to due process.

            A.     The magnitude of the award is shocking.

            As set forth at length above, the $1 billion award in this case is unprecedented. It is the

   largest copyright statutory damages award in history by a factor of eight and is 40 times larger than

   the verdict awarded (and ultimately vacated) in the very similar BMG case. It exceeds by more

   than $400 million the aggregate dollar value of all copyright statutory damages awards from 2009-

   2016. It exceeds by more than $100 million the total profits earned in 2014 by the parent companies


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   of the 53 plaintiffs.16 Even considered on a per-work basis, the award is extreme: the $99,830.29

   per-work award is the largest ever given for infringement of digital music files. Every previous

   case that we have been able to identify involving similar infringements has ultimately awarded

   per-work damages of $9,000 to $22,500.17

          Multiple courts have recognized that due process limitations may be triggered where, as

   here, the aggregation of many individual statutory damages awards results in a grossly

   disproportionate total award. For example, in Parker v. Time Warner Entertainment Co., 331 F.3d

   13, 22 (2d Cir. 2003), the Second Circuit considered “the effects of combining a statutory scheme

   that imposes minimum statutory damages awards” with a “mechanism that aggregates many

   claims.” The court reasoned that “[s]uch a combination may expand the potential statutory

   damages so far beyond the actual damages suffered that the statutory damages come to resemble

   punitive damages.” Id. In a “sufficiently serious case,” the court concluded, “the due process clause

   might be invoked … to nullify that effect and reduce the aggregate damage award.” Id. (citing

   State Farm and Gore); see also Capitol Records, 692 F.3d at 910 (“[t]he absolute amount of the

   award, not just the amount per violation,” is relevant to disproportionality under Williams).

          If the billion-dollar verdict at issue here, untethered to any conceivable compensatory or

   deterrent purpose, is not a “sufficiently serious case” to trigger due process limitations, it is

   difficult to know what would be. Parker, 331 F.3d at 22.

          B.      Cox’s “offense” lacks the reprehensibility that would warrant such a massive
                  damage award.

          On the other side of the proportionality calculus is the “offense” for which Cox was found

   liable. The contrast with the magnitude of the award is sharp. Cox was found liable for secondary


   16
      According to Plaintiffs’ expert Lehr, Plaintiffs’ combined profits in 2014 were $883 million.
   See Tr. 1759:16-1760:20 and Lehr Demonstrative Slide 10.
   17
      See BMG ($17,895); Tenenbaum ($22,500); Capitol Records ($9,250).
                                                    20
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   infringement, not direct infringement. Cox misappropriated nothing, and any benefit it received

   from its subscribers’ infringements was indirect. There is no evidence that Cox knew that its own

   conduct—providing internet service to subscribers, forwarding infringement notices to them upon

   receipt, and putting accused subscribers through a multi-step graduated response process that was

   designed to (and did) discourage infringement without termination—was unlawful. Indeed, in the

   time period at issue there was no authority to suggest that an ISP’s failure to terminate a subscriber

   could or would give rise to secondary liability. Cox has engaged in no litigation misconduct. And

   in this case the undisputed evidence showed not only that Cox devoted significant resources to a

   program that was designed to—and did—discourage its subscribers’ infringement, but also that

   Plaintiffs had endorsed a very similar program employed by other ISPs.

          C.      Combined, the shockingly large size of the award and nature of Cox’s
                  “offense” establish that the award must be reduced as a matter of due
                  process.

          The radical disjunction between the massive award and Cox’s low culpability require the

   conclusion that the award is so “disproportioned to the offense” that it violates due process.

          The Eighth Circuit’s recent decision reducing statutory damages on due-process grounds

   in Golan v. FreeEats.com, 930 F.3d 950 (8th Cir. 2019) is instructive. There, the defendants were

   found to have made more than three million phone calls in violation of the Telephone Consumer

   Protection Act (“TCPA”). The TCPA provides for statutory damages of $500 per violation,

   resulting in a total statutory damage award of more than $1.6 billion. Golan v. Veritas

   Entertainment, 2017 WL 3923162, at *4 (E.D. Mo. Sept. 7, 2017). Applying Williams, the district

   court found that amount “obviously unreasonable and wholly disproportionate to the offense.” Id.




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   It ordered the judgment reduced to $10 per offense, for an aggregate award of $32,424,930. In so

   deciding, the court observed that this amount:

                  [R]eflects the severity of the offense, a six-day telemarketing
                  campaign which placed 3.2 million telephone calls, as well as
                  respecting the purposes of the TCPA to have a deterrent effect and
                  to account for unquantifiable losses … .

   Id. On appeal, the Eighth Circuit affirmed. It noted the “obvious” fact that “$1.6 billion is a

   shockingly large amount,” and that “compare[d] to the conduct” of the defendant—a commercial

   advertising firm that made more than three million robocalls in one week but “plausibly believed

   it was not violating the TCPA”—the statutory award was “wholly disproportioned to the offense

   and obviously unreasonable” under Williams. Golan, 930 F.3d at 962-963.

          Like Golan, this case contrasts strongly with two decisions that applied Williams to

   copyright statutory damages awards and found no violation of due process. See Tenenbaum, 719

   F.3d at 71; Capitol Records, 692 F.3d at 909. The awards in those cases were minuscule compared

   the $1 billion at issue here: $675,000 in Tenenbaum ($22,500 per work) and $222,000 in Capitol

   Records ($9,250 per work). The defendants in both cases were direct infringers who intentionally

   misappropriated the plaintiffs’ intellectual property for their own benefit, directly depriving the

   plaintiffs of their property’s value. Both persisted despite knowing that their conduct was illegal.

   See Sony BMG Music Ent’mnt v. Tenenbaum, 2012 WL 3639053, at *3 (D. Mass. Aug. 23, 2012);

   Capitol Records, 680 F. Supp. 2d at 1053. Both lied in court proceedings and attempted to shift

   blame to others, including innocent children. Tenenbaum, 2012 WL 3639053, at *3; Capitol

   Records, Inc., 680 F. Supp. 2d at 1053. Both cases, in short, involved relatively small awards and

   relatively high levels of culpability. The opposite is true here.




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          For these reasons, the $1 billion award, considered in light of Cox’s conduct, violates Cox’s

   right to due process of law. The Court should remit the award to the largest constitutionally

   permissible amount18

   III.   The award is a product of Plaintiffs’ efforts to encourage the jury to “punish” a
          “deep-pocketed” defendant.

          The jury’s shocking and unprecedented $1 billion award did not emerge from a vacuum. It

   was the product of a calculated effort by Plaintiffs to skew the damages upward by encouraging

   the jury to punish a deep-pocketed defendant for supposed transgressions far beyond the limited

   acts of infringement actually alleged in the case.

          A.      At Plaintiffs’ urging, the jury was instructed to “punish” Cox.

          The jury’s verdict can only be understood as an act of retribution—an act the jury was

   encouraged to take by Plaintiffs’ insistence on a jury instruction urging the jurors to “punish Cox.”

   The result speaks for itself: a jury award of unprecedented magnitude with no conceivable basis

   tied to Plaintiffs’ harm, any benefit to Cox, or any need for deterrence. What remains is simply a

   desire for retribution that has no place in civil copyright law. Even if a punishment instruction

   could be appropriate in some circumstances, there was no basis for it here.

          In successfully arguing for the punishment instruction, Plaintiffs relied primarily on the

   Supreme Court’s decision in F.W. Woolworth. But F.W. Woolworth says nothing about

   punishment. Rather, it simply states that statutory damages are designed both to compensate the

   rights holder and to “discourage wrongful conduct.” Id. at 233; accord BMG, 149 F. Supp. 3d at

   677 n.31 (“[s]tatutory damages under the Copyright Act are not penal. Instead, they are aimed at

   compensating copyright owners and deterring future infringing conduct.”) (emphasis added). That


   18
      Note that if the Court remits the award on due process grounds, it is not required to offer
   Plaintiffs the alternative of a new trial on damages. See, e.g., S. Union Co. v. Irvin, 563 F.3d 788,
   790 (9th Cir. 2009).
                                                    23
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   is, F.W. Woolworth supports the use of statutory damages for deterrence—a function that Plaintiffs

   insisted to the Court is a “very, very different thing” than punishment. Tr. 2317:14-23; see also Tr.

   2646:16-20, Tr. 2652:1-5. And the Court’s instruction on damages already included consideration

   of deterrence. ECF No. 671, Instr. 28. To the extent punishment is relevant to damages’ capacity

   to deter, then the instructions already covered it. To the extent punishment serves some function

   other than deterrence, its inclusion in the instruction finds no support in F.W. Woolworth.

          Consistent with the Supreme Court’s guidance, no Court of Appeals employs a “need to

   punish” factor in assessing statutory damages.19 Although some of the Circuits’ model instructions

   recite “penaliz[ing] the infringer” as one of the purposes of statutory damages, none allows

   consideration of punishment as a separate factor in determining the quantum of damages.20 To the

   extent the listed factors allow consideration of the need to “penalize” the infringer, it is only

   through consideration of deterrence. See, e.g., Eleventh Circuit Civil Jury Instruction 9.32 (noting

   that “purposes” of statutory damages include “penaliz[ing] the infringer” but allowing no

   consideration of punitive factors other than “deterrence of future infringement”).21



   19
      See, e.g., Sony BMG Music Entm’t v. Tenenbaum, 719 F.3d 67 (1st Cir. 2013) (listing factors
   but not punishment); N.A.S. Imp., Corp. v. Chenson Enterprises, Inc., 968 F.2d 250, 252–53 (2d
   Cir. 1992) (same); Superior Form Builders, Inc. v. Dan Chase Taxidermy Supply Co., 74 F.3d 488,
   496 (4th Cir. 1996) (same); Seventh Circuit - Federal Civil Instructions of the Seventh Circuit,
   Prepared by The Committee on Pattern Civil Jury Instructions of the Seventh Circuit, Instr. 12.8.4
   (same); Ninth Circuit – Manual of Model Civil Jury Instructions, Instr. 17.35 (same); Eleventh
   Circuit – Judicial Council of the United States Eleventh Judicial Circuit, Instr. 9.32 (same).
   Excerpts of the referenced model jury instructions are attached hereto as Exhibit E.
   20
        In pressing for a punishment-based instruction, Plaintiffs’ counsel represented that the
   Tenenbaum case “did include as a [damages] factor punishment—I know, I litigated the case.” Tr.
   2651:11-13. Counsel’s memory of Tenenbaum is faulty: the jury instruction in that case makes no
   mention of punishment. See Trial Transcript, Sony BMG Music Ent’mnt v. Tenenbaum, Nos. 03-
   11661 and 07-11446 (D. Mass. July 31, 2009) at 101:18-102:22 (attached as Ex. F). The relevant
   part of that instruction refers only to “the need to deter.”
   21
      To the extent some decisions in the Courts of Appeals state that statutory damages are punitive,
   none of those cases suggest that such damages have a punitive purpose independent of the
   deterrence function authorized by the Supreme Court in F.W. Woolworth.
                                                    24
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          The overwhelming majority of copyright jury instructions emphasize the need for

   deterrence, and do not permit the jury to consider “the need to punish” as a factor in determining

   damages. While there are a handful of cases where the court allowed consideration of punishment

   in addition to deterrence, it is unclear whether there was any authority to support such an

   instruction; and, in any event, none of those cases involve facts anything like this one. Instead,

   they involve infringers who are plausibly viewed as pirates—people who exploit others’

   intellectual property for their own direct personal or commercial gain. For example, in Lowry’s

   Reports, Inc. v. Legg Mason, Inc., 271 F. Supp. 2d 737 (D. Md. 2003), the court permitted the jury

   to consider punishment where the defendant had a single subscription to plaintiffs’ proprietary

   investment reports but disseminated them widely throughout its international organization; used

   the unauthorized copies of the plaintiffs’ reports to further its own commercial purposes; and

   continued to disseminate the reports after receiving a cease-and-desist letter and agreeing to stop.

   Id. Similarly, in Columbia Pictures v. Krypton Broadcasting, the defendant television stations

   continued to broadcast copyrighted television shows after the termination of their licensing

   agreement with the plaintiff, after receiving multiple cease-and-desist letters, and after the

   infringement suit was filed, willfully misappropriating the rights holder’s property for its direct

   commercial gain. Columbia Pictures Television v. Krypton Broadcasting of Birmingham, Inc., 106

   F.3d 284 (9th Cir. 1997), rev’d on other grounds, Feltner v. Columbia Pictures Television, 523

   U.S. 340 (1998); see also Columbia Pictures Television, Inc. v. Krypton Broadcasting of

   Birmingham, Inc., 259 F.3d 1186 (9th Cir. 2001).

          This case involves none of the culpability that arguably warranted a punishment instruction

   in Lowry’s Reports and Columbia Pictures. Cox was accused of secondary infringement on the

   basis that it provided internet access to others who infringed. Cox did not itself misappropriate or



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   exploit Plaintiffs’ intellectual property. It cooperated with the recording industry, forwarding

   infringement notices to its subscribers and, where feasible, accommodating the industry’s requests

   to increase the number of notices it would process daily. Cox did not induce, cause, or encourage

   its subscribers’ infringement. To the contrary, it actively discouraged infringement via notices,

   warnings, suspensions, and—in extreme cases—terminations. These facts simply cannot be

   reconciled with a “need to punish” Cox beyond what is necessary to deter future infringement.

          There is no reasonable question that Cox was prejudiced by Plaintiffs’ “need to punish”

   instruction, in that there is “a reasonable probability” that the instruction “affected the outcome of

   the trial” and resulted in a “miscarriage of justice.” Gentry v. East West Partners Club

   Management Co.., 816 F.3d 228, 237 (4th Cir. 2016). Given the total disjunction between any

   conceivable loss to Plaintiffs or gain to Cox, and the absence of any evidence suggesting that a

   billion-dollar award was necessary to deter future infringement, the jury’s award could only have

   been based upon a desire to punish that was permitted and encouraged by the instruction.

   Accordingly, Cox is entitled to a remittitur or a new trial.

          B.      At Plaintiffs’ insistence, the jury was instructed to consider and improperly
                  heard evidence relating to Cox’s “total profits.”

          Even with the instruction to “punish” Cox for secondary infringement, the jury could not

   have reached its $1 billion verdict had it not been supplied with “evidence” framing damages in

   billion-dollar terms. The Plaintiffs gave the jury that guidance by repeatedly invoking Cox’s

   revenues: in closing argument, their counsel used the word “billion” at every opportunity. See,

   e.g., Tr. 2963:4 (“multi-billion-dollar company”), 2974:1-6 (misrepresenting Cox’s profits from

   Internet in 2014 as “8.3 billion”); 2974:9-19 (Cox paid “$2.9 billion, with a ‘B’, in cash

   dividends”); 3028:25-3029:2 (“Cox literally puts billions and billions of dollars in its pockets”).

   There is no evidentiary connection between those billions and the infringements at issue here.


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          Over Cox’s objection, those ten-digit numbers were in evidence, and at Plaintiffs’ urging

   the jury was instructed to and did consider them in determining “what amount would have a

   deterrent effect.” ECF No. 671, Instr. 28. This evidence was irrelevant and highly prejudicial.

   Plaintiffs’ instruction should have been rejected, together with anything adduced to support it.

          First, Plaintiffs’ total-profits instruction—which, like the punishment instruction, the Court

   did not include in its BMG instructions, despite the very similar posture of that case—was

   inappropriate in this case. Although total profits or overall wealth may be relevant in determining

   punitive damages, copyright statutory damages (as explained above) “are not penal.” BMG, 149 F.

   Supp. 3d at 677 n.3. Accordingly, the retributive purposes to which total profits may be relevant

   are not applicable here. In any event, the instruction did not relate to the need to punish Cox, but

   the need to deter future infringement. Cox’s total profits from its internet, television, and many

   other services are not relevant to deterring infringing conduct that relates to a tiny fraction of those

   businesses.

          Plaintiffs have never cited any authorities that actually addressed the propriety of a “total

   profits” jury instruction. Nor have they identified authorities that use such an instruction the way

   it was used here—as a kind of free-standing invitation to charge Cox massive damages wholly

   divorced from the infringement. See Plaintiffs’ Bench Mem. Regarding Statutory Damages (Ex.

   G). In general, the cases employing a total-profits instruction involve direct infringers who were

   in the business of distributing copyrighted content, such that there was a direct relationship

   between the defendant’s misappropriation of the plaintiffs’ copyrighted materials and its profits.

   For example, the defendants in John Wiley & Sons, Inc. v. Book Dog Books, LLC, 327 F. Supp. 3d

   606 (S.D.N.Y. 2018) were book sellers accused of selling counterfeit copies of the plaintiffs’

   textbooks. Id. (cited in Ex. G at 7). The jury instruction that allowed the jury to consider



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   “Defendants’ total profits” was given in light of evidence “from Plaintiffs’ expert that [the

   infringing] practices led Defendants to earn $53,800,000 in profit in a four-year period.” Id. at

   634-635 (emphasis added). That is, there was a close and direct relationship between the infringing

   conduct and the defendants’ overall profits. The same is true of Basic Books, Inc. v. Kinko’s

   Graphics Corp., 758 F. Supp. 1522 (S.D.N.Y. 1991), which involved a defendant for whom

   copying written materials, and particularly academic textbook materials for university professors,

   was its core business. Id. (cited in Ex. G at 7). Its $3 million in profits therefore included profits

   directly attributable to the alleged infringement. And Sara Lee Corp. v. Bags of New York, Inc.,

   36 F. Supp. 2d 161 (S.D.N.Y. 1999) (cited in Ex. G at 7) actually cuts against the inclusion of a

   “total profits” instruction, for a similar reason. In Sara Lee, the court considered not the

   defendant’s total profits, but the profits from its counterfeiting operation. Id. at 169.

          This case is very different. The relationship between the alleged infringement and Cox’s

   total profits is highly attenuated. Cox is not in the business of distributing copyrighted content.

   Nor did it misappropriate Plaintiffs’ property for its own commercial gain. Cox’s profits flow from

   the provision of services, including internet access, cable television, and telephone connectivity.

   The connection of the profits on those services to the alleged infringements is so distant and

   indirect as to be meaningless.22 For that reason, the notion that Cox’s total wealth is relevant to the

   deterrence factor is inconsistent with basic principles of damages. The damages necessary to deter

   a company from engaging in conduct X are a function of the value to the company of engaging in

   conduct X—not its profits derived from unrelated conduct A through W, plus Y and Z. The amount

   necessary to deter may be some multiple of that amount, to ensure that infringement is a net



   22
     For this reason, Cox moved in limine to exclude evidence of Cox’s profits from any service
   other than high-speed internet. The Court denied that motion in relevant part without discussion.
   See ECF No. 485 at 7-8; ECF No. 590 at 2-3.
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   negative activity, and not just a neutral one. But the total wealth of the defendant can be deemed

   relevant to that calculus only by hypothesizing an irrational defendant.

          In short, even if wealth or total profits may in some circumstances be relevant to

   determining punitive damages, it is not relevant to the need for deterrence of the accused conduct,

   which, as discussed above, is the only “punitive” purpose served by enhanced statutory damages

   under the Copyright Act. Plaintiffs’ jury instruction prejudiced Cox by encouraging the jury to

   award damages based not on the need for deterrence, but on the size of Cox’s bank accounts.

          C.      The award was based on irrelevant and highly prejudicial evidence of Cox’s
                  revenues untethered to the infringement.

          Even if the total profit instruction was correct, Plaintiffs should not have been permitted to

   present evidence (over Cox’s objection) of Cox’s resources that was not even arguably related to

   deterring future infringement: the dollar value of dividends Cox’s owners received during the

   Claims Period. See Lehr Trial Demonstrative 9; Tr. 1720:11-16, 1761:14-1763:9. It is surely no

   coincidence that the value of those dividends—“1 to 1.5 billion dollars a year,” as Plaintiffs’

   counsel put it during closing—is the dollar amount in evidence closest to the jury’s $1 billion

   award. Tr. 2974:9-2975:1. Plaintiffs’ counsel openly urged the jury to base their award on those

   dividends. After telling the jurors that “Cox paid $2.9 billion, billion with a ‘B’, in cash dividends

   to its owners,” he asked “[g]iven Cox’s conduct, how much of those profits should the Cox family

   get to retain, and how much should be turned over to the plaintiffs?” Id.

          The profits that “the Cox family” “get to retain” from the entire business—and which Lehr

   suggested they might use to “go on a vacation” or “buy a car,” Tr. 1761:14-24—have no bearing

   on the need to deter future infringement, which is the only purpose for which the jury was

   instructed to consider profits. Cox’s owners are not parties. There is no evidence that Cox’s owners

   have any direct role in the management of the company, never mind management of its copyright


                                                    29
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   enforcement policies. Further, the profits from Cox’s entire business represent the profits earned

   on the services provided to roughly 4.5 million broadband subscribers, not to mention the millions

   of subscribers to video and voice services alone. This case, at the most, involves conduct by

   approximately 31,000 alleged repeat infringers. The actions of those 31,000 subscribers are so far

   removed from Cox’s enterprise-level corporate dividends as to bear no rational relationship at

   all—never mind one that should form a basis for the jury’s verdict.

          The dividends, in short, had no relevance to any issue before the jury, and had no

   conceivable purpose except to incite the jury to punish a deep-pocketed owner by using a yardstick

   that did not even purport to measure the benefit obtained from the alleged infringement. The

   evidence was both irrelevant and highly prejudicial, and warrants remittitur or a new trial before a

   jury untainted by such evidence.

                                            CONCLUSION

          For all these reasons, Cox requests that Court grant remittitur reducing the damages award

   to an amount supported by the trial evidence and the requirements of due process or, in the

   alternative, vacate the judgment and order a new trial on damages.23




   23
     On January 15, 2020, Plaintiffs, after being ordered by the court in their infringement litigation
   against Charter Communications to produce ownership documents that were not produced in this
   case, Warner Records, Inc. et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RJB-
   MEH (D. Colo.), ECF No. 100, amended the Charter complaint to remove from consideration
   approximately 100 works for which Plaintiffs were awarded statutory damages here. See Warner
   Records, Inc., ECF No. 111. A spot check indicates that at least some of those works were the
   subjects of infringement notices during the Charter litigation claims period. Cox is aware of no
   reason that Plaintiffs would withdraw those works from the Charter case unless the documents
   they refused to produce here identified defects in their claim to ownership of the withdrawn works.
   Cox will seek discovery to determine whether the works withdrawn from the Charter case were
   properly before the Court in this case. This Rule 59 motion is without prejudice to any future
   motion to alter or amend the judgment in this case to remove those works.
                                                   30
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   Dated: January 31, 2020                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 31, 2020, the foregoing was filed and served electronically

   by the Court’s CM/ECF system upon all registered users.

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